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                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF SOUTH CAROLINA
                                      CHARLESTON DIVISION

 IN RE:                                                                Case No. 14-01233-jw
                                                                       Chapter 13
 Abbie Law Connelly
 Michael Linn Connelly

 Debtor(s).

                                              NOTICE OF APPEARANCE


            U.S. BANK NATIONAL ASSOCIATION, as Trustee for NRZ PASS-THROUGH
            TRUST IX1,2, a Secured Creditor in the above styled proceeding, hereby requests that
            all matters which must be noticed to creditors, any creditors' committees, and any other
            parties-in-interest pursuant to FRBP 2002, whether sent by the Court, the Debtor, or any
            other party in the case, be sent to the undersigned; and pursuant to FRBP 2002(g),
            requests that the following be added to the Court's Master Mailing List 3:
                                   Elizabeth R. Polk, Esquire – Federal ID #7124
                                         Stern & Eisenberg Southern, PC
                                              1709 Devonshire Drive
                                                Columbia, SC 29204



Dated this 3rd day of July, 2018.


                                                          By:      /s/ Elizabeth R. Polk, Esquire
                                                                 Elizabeth R. Polk, Esquire, FBN: 7124
                                                                 Stern & Eisenberg Southern, PC
                                                                 1709 Devonshire Drive
                                                                 Columbia, SC 29204
                                                                 Phone: (803) 462-5006
                                                                 Fax: (803) 929-0830
                                                                 bpolk@sterneisenberg.com
                                                                 Attorney for Creditor




1 Full title of Creditor is as follows: U.S. BANK NATIONAL ASSOCIATION, as Trustee for NRZ PASS-THROUGH TRUST IX.
2 This Loan is currently serviced by New Penn Financial, LLC d/b/a Shellpoint Mortgage Servicing.
3 For reference, the property address associated with the undersigned's representation is 121 Oakdale Dr, Summerville, SC 29483.
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                                     CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I caused to be served a true and correct copy of the foregoing
Notice of Appearance by electronic means via the Court's CM/ECF notification system this 3rd
day of July, 2018, to the following:

Ann U. Bell
Drose Law Firm
3955 Faber Place Dr.
Ste 103
Charleston, SC 29405
ann@droselaw.com
Attorney for Debtor(s)

James M. Wyman
PO Box 997
Mount Pleasant, SC 29465-0997
wyman@charleston13.com
Chapter 13 Trustee

Office of the U.S. Trustee
1835 Assembly Street
Suite 953
Columbia, SC 29201
U.S. Trustee

and by standard first class mail postage prepaid to:

Abbie Law Connelly
Michael Linn Connelly
121 Oakdale Drive
Summerville, SC 29483
Debtor(s)

Dated this 3rd day of July, 2018.


                                              By:        /s/ Elizabeth R. Polk
                                                       Elizabeth R. Polk
